      7:24-cv-04534-JDA         Date Filed 10/21/24      Entry Number 20       Page 1 of 4




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION

Carson Alex Boyd,                            )       C/A No. 7:24-cv-4534-JDA-WSB
                                             )
                              Plaintiff,     )
                                             )
               v.                            )       REPORT AND RECOMMENDATION
                                             )
Brandon H. Dorsett, Brandon T. Parker,       )
                                             )
                              Defendants.    )
                                             )

       Carson Alex Boyd (“Plaintiff”), a non-prisoner litigant proceeding pro se, brings this civil

action against the above-named Defendants.1 The provisions of 28 U.S.C. § 636(b) and Local

Civil Rule 73.02(B) (D.S.C.), authorize the undersigned Magistrate Judge to review the Complaint

for relief and submit findings and recommendations to the district court. Upon review, the

undersigned concludes that this action is subject to dismissal for the reasons below.

       Plaintiff commenced this action by filing a pro se Complaint, which was entered on this

Court’s docket on August 19, 2024. ECF No. 1. By Orders dated August 21, and September 13,

2024, Plaintiff was directed to provide the necessary information and paperwork to bring this case

into proper form for further evaluation and possible service of process. ECF Nos. 5; 13. In both

Orders, Plaintiff was warned that failure to provide the necessary information and paperwork




       1
          When Plaintiff commenced this action, he was incarcerated at the Cherokee County
Detention Center. ECF No. 1 at 2. Plaintiff notified the Court by letter dated August 29, 2024,
that he had been released to house arrest. ECF No. 7. Because Plaintiff is no longer incarcerated,
this Report and Recommendation is entered in accordance with General Order In Re: Procedures
in Civil Actions Filed by Non-Prisoner Pro Se Litigants, No. 3:07-mc-5015-JFA (D.S.C. Sept. 18,
2007).
                                                1
      7:24-cv-04534-JDA         Date Filed 10/21/24       Entry Number 20        Page 2 of 4




within the timetable set in the Court’s Orders may subject the case to dismissal. Both Orders also

advised Plaintiff of his duty to always keep the Court informed as to his current address.

       The second proper form Order dated September 13, 2024, was mailed to Plaintiff at the

address he provided to the Court in his notice of change of address. ECF No. 15. Because the

Order has not been returned to the Court as undeliverable, Plaintiff is presumed to have received

the Order. Plaintiff has not responded to the Order and has not filed the documents required by

the Order. The deadline for response has passed.

       “The Court has inherent power to manage its docket in the interests of justice.” Luberda

v. Purdue Frederick Corp., C/A No. 4:13-cv-00897-RBH, 2013 WL 12157548, at *1 (D.S.C. May

31, 2013). It also has the authority expressly recognized in Rule 41(b) to dismiss actions for failure

to prosecute. Fed. R. Civ. P. 41(b) (authorizing a district court to dismiss an action if a plaintiff

fails to comply with an order of the court); see also Ballard v. Carlson, 882 F.2d 93, 95 (4th Cir.

1989) (noting Rule 41“recognize[s] that courts must have the authority to control litigation before

them, and this authority includes the power to order dismissal of an action for failure to comply

with court orders”). “The authority of a court to dismiss sua sponte for lack of prosecution has

generally been considered an ‘inherent power,’ governed not by rule or statute but by the control

necessarily vested in courts to manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.” See Link v. Wabash R.R. Co., 370 U.S. 626, 630–31 (1962).

       Plaintiff did not respond to this Court’s second proper form Order and has failed to file the

required documents. He has failed to prosecute this case and comply with an Order of this Court.

Accordingly, the case should be dismissed without prejudice pursuant to Rule 41(b) of the Federal

Rules of Civil Procedure.



                                                  2
      7:24-cv-04534-JDA        Date Filed 10/21/24      Entry Number 20       Page 3 of 4




                                   RECOMMENDATION:

       For the reasons above, it is recommended that the District Court DISMISS this action

without issuance and service of process pursuant to Rule 41(b) for failure to prosecute and comply

with the Court’s Order.

       IT IS SO RECOMMENDED.

                                                            s/William S. Brown
                                                            United States Magistrate Judge
October 21, 2024
Greenville, South Carolina

           Plaintiff’s attention is directed to the important notice on the next page.




                                                3
      7:24-cv-04534-JDA         Date Filed 10/21/24      Entry Number 20         Page 4 of 4




             Notice of Right to File Objections to Report and Recommendation

        The parties are advised that they may file specific written objections to this Report and
Recommendation with the District Judge. Objections must specifically identify the portions of the
Report and Recommendation to which objections are made and the basis for such objections. “[I]n
the absence of a timely filed objection, a district court need not conduct a de novo review, but
instead must ‘only satisfy itself that there is no clear error on the face of the record in order to
accept the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir.
2005) (quoting Fed. R. Civ. P. 72 advisory committee’s note).

        Specific written objections must be filed within fourteen (14) days of the date of service of
this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see Fed. R. Civ.
P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5 may be accomplished by
mailing objections to:

                                      Robin L. Blume, Clerk
                                   United States District Court
                                 250 East North Street, Suite 2300
                                 Greenville, South Carolina 29601

        Failure to timely file specific written objections to this Report and Recommendation
will result in waiver of the right to appeal from a judgment of the District Court based upon
such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v.
Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984).




                                                 4
